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Teny Geragos

From:                              Teny Geragos
Sent:                              Wednesday, June 11, 2025 10:30 PM
To:                                SubramanianNYSDChambers; Comey, Maurene (USANYS); Johnson, Emily (USANYS) 2;
                                   Foster, Meredith (USANYS); Slavik, Christy (USANYS); Steiner, Mitzi (USANYS); Smyser,
                                   Madison (USANYS)
Cc:                                Marc Agnifilo; Anna Estevao; Alexandra Shapiro; Jason A. Driscoll;
                                   nw@westmorelandlawgroup.com; xdonaldson; thesteellawfirm
Subject:                           US v. Combs - 6/12/25 Trial Issue
Attachments:                       DX-3226.pdf; DX-3226-B.mp4


Dear Chambers:

Ms. Comey and I have conferred on the remainder of the exhibits I intend to introduce for Jane’s cross-examina on.
There is one in dispute: DX-3226-B. She objects to DX 3226-B, which is a voicenote sent Dec. 20, 2023 6:12pm UTC in the
a ached DX 3226. We understand that Ms. Comey’s objec on is based on hearsay and that Mr. Combs’s statements
that “I never understood through the three years that you felt this way,” “I didn’t know that you felt this way,” “

                                                                ,” and
                  are hearsay oﬀered to prove the truth of the ma er asserted. We assert that this is not hearsay, is
oﬀered to show context of the surrounding exhibits the government has introduced from December 2023, and would be
otherwise admissible under the state-of-mind exemp on. Furthermore, the jury has basically heard virtually their en re
conversa on—through Jane’s tes mony and their text conversa ons, and it would be misleading and unfair to omit this
one?

We further assert that these statements are relevant to demonstrate the eﬀect on the listener (Jane) and to properly
contextualize her subsequent conduct. As the government will argue, Jane and Mr. Combs con nued the at-issue sexual
conduct well a er this message was sent. To the extent there was any doubt as to the clarity of Jane’s communica on
with Mr. Combs in the years prior to this message, the message marks a turning point in the rela onship and the
importance of clear communica on. The jury should consider the message, even if not for its truth, as relevant when
weighing Jane’s subsequent conduct.

Respec ully,
Teny


               Teny Geragos
               Partner, Agni ilo Intrater LLP
               445 Park Avenue, 7th Floor | New York, NY 10022
               o: (646) 205-4351 | c: (
               teny@agilawgroup.com
               www.agilawgroup.com




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